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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                             Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                               Exhibit CC
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                                     THE WHITE HOUSE
                                         WASHINGTON

                                          June 18, 2019


The Honorable Jerrold Nadler
Chairman
Committee on the Judiciary
United States House of Representatives
Washington, DC 20515

Dear Chahman Nadler:

        I write concerning the subpoena issued by the Committee on the Judiciary (the
"Committee") to Hope Hicks on May 21,2019. The subpoena directs Ms. Hicks to testify before
the Committee on Wednesday, June 19, 2019. As you are aware, Ms. Hicks served as a senior
adviser to the President in the White House, holding the titles of Assistant to the President and
Director of Strategic Communications, as well as Assistant to the President and White House
Communications Director. The subpoena appears to seek testimony from Ms. Hicks concerning
her service in the White House. As explained below,Ms. Hicks is absolutely immune from being
compelled to testify before Congress with respect to matters occmTing during her service as a
senior adviser to the President.

       The Department of Jvstice ("Department") has advised me that, with respect to the
subpoena issued by the Committee on May 21, 2019, Ms. Hicks is absolutely immune from
compelled congressional testimony with respect to matters occmTing during her service as a senior
adviser to the President. As you know, "[t]he Department has long taken the position-across
administrations of both political parties-that 'the President and his immediate advisers are
absolutely immune from testimonial compulsion by a Congressional Committee."' Letter from
Pat A. Cipollone, Counsel to the President, to Rep. Jerrold Nadler (May 20, 2019) (quoting
Immunity of the Former Counsel to the President from Compelled Congressional Testimony, 31
Op. 0.L.C. 191, 191 (2007)); see also, e.g., Immunity of the Counsel to the President from
Compelled Congressional Testimony, 20 Op. O.L.C. 308,308 (1996). That immunity arises from
the President's position as head of the Executive Branch and from Ms. Hicks's former position as
a senior adviser to the President. "Subjecting a senior presidential advisor to the congressional
subpoena power would be akin to requiring the President himself to appear before Congress on
matters relating to the performance of his constitutionally assigned executive functions." Assertion
of Executive Privilege with Respect to Clemency Decisions, 23 Op. O.L.C. 1,5 (1999).

        As the Depmtment has recognized, "[w]hile a senior presidential adviser, like other
executive officials, could rely on executive privilege to decline to answer specific questions at a
hearing, the privilege is insufficient to ameliorate several threats that compelled testimony poses
to the independence and candor of executive councils." Memorandum for Pat A. Cipollone,
Counsel to the President, from Steven A. Engel, Assistant Attorney General, Office of Legal
Counsel,Re: Testimonial Immunity Before Congress of the Former Counsel to the President, 43
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The Honorable Jerrold Nadler
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Op. O.L.C. _, *6 (May 20, 2019). "[C]ompelled congressional testimony 'create[s] an inherent
and substantial risk of inadvertent or coerced disclosure of confidential information,' despite the
availability of claims of executive privilege with respect to the specific questions asked during
such testimony." Id. (quoting Immuniry ofthe Assistant to the President and Director ofthe Office
ofPolitical Strategy and Outreach from Congressional Subpoena, 38 Op. O.L.C. _, *4 (July 15,
2014)). In addition, the threat of compelled interrogation about confidential communications with
the President or his senior staff"could chill presidential advisers from providing unpopular advice
or from fully examining an issue with the President or others." Id. Finally, given the frequency
with which testimony of a senior presidential adviser would fall within the scope of executive
privilege, compelling such an adviser's appearance is unlikely to promote any valid legislative
interests. Id. at *6-7.

       Because of this constitutional immunity, and in order to protect the prerogatives of the
Office of President, the President has directed Ms. Hicks not to answer questions before the
Committee relating to the time of her service as a senior adviser to the President. The long­
standing principle of immunity for senior advisers to the President is firmly rooted in the
Constitution's separation of powers and protects the core functions of the Presidency, and we are
adhering to this well-established precedent in order to ensure that future Presidents can effectively
execute the responsibilities of the Office of President. It is our understanding that Ms. Hicks's
limited testimony before the House Permanent Select Committee on Intelligence and the Senate
Select Committee on Intelligence was not inconsistent with this principle of immunity.

       We recognize the Committee has also expressed an interest in questioning Ms. Hicks about
her time working for the President-elect during the presidential transition. Much of Ms. Hicks's
work during this period involved discussions with the President-elect and his staff relating to the
decisions the President-elect would be making once he assumed office. Accordingly, her
responses to specific questions about this period would likely implicate executive branch
confidentiality interests concerning that decisionmaking process. In order to preserve the
President's ability to assert executive privilege over such information, a member of my office will
attend Ms. Hicks's testimony on June 19.

        Finally, I note that the Committee and the Department are engaged in an ongoing
accommodation process, and that accommodation process may resolve the Committee's requests
for info1mation. Please do not hesitate to contact me directly if you have any questions or would
like to discuss this matter further.




cc:     The Honorable Doug Collins, Ranking Member
